
Appeal No. 25090 from Judgment dated February 21, 1995; William Lee Griffin, Jr., Ruling Judge, Sunflower County Chancery Court.
Affirmed.
I and II: BRIDGES, THOMAS, P.JJ., FRAISER, C.J., and BARBER, COLEMAN, DIAZ, KING, McMILLIN, PAYNE, and SOUTHWICK, JJ., concur.
Ill: FRAISER, C.J., and PAYNE, BARBER, DIAZ, KING and McMILLIN, JJ., concur.
BRIDGES and THOMAS, P.JJ., and COLEMAN and SOUTHWICK, JJ., dissent.
